        Case 1:14-cv-00184-SWS Document 35 Filed 11/10/15 Page 1 of 4




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING

JUAN PAUL FLORES,                       )
                                        )
             Plaintiff,                 )
                                        )   Civil Case No. 14-CV-184-S
vs.                                     )
                                        )
GEORGE MENIG,                           )
                                        )
             Defendant.                 )


               DEFENDANT’S EXPERT WITNESS DESIGNATION



      Defendant George Menig hereby submits his expert witness designation in

accordance with U.S.D.C.L.R. 26(e), the Federal Rules of Civil Procedure, the Court’s

Amended Order on Initial Pretrial Conference [Doc. 22], and the Court’s Order

Granting Stipulated Motion for Extension of Time to Designate Defendant’s Expert

Witness [Doc. 29], as follows:
        Case 1:14-cv-00184-SWS Document 35 Filed 11/10/15 Page 2 of 4




K. Thor Eells
19875 Indian Summer Lane
Monument, CO 80132

      Thor Eells is a Commander of the Colorado Springs Police Department.

Commander Eells is a 27-year veteran. In his 27 years of experience, he has held

various positions, including Field Training Officer, Sergeant, Lieutenant, and

Commander.       He has also served in various capacities, including patrol,

investigations, and tactical. Commander Eells is a graduate of the FBI National

Academy and holds a Master’s Degree in Criminal Justice from the University of

Colorado. He is a certified Non-Lethal Use of Force instructor, SWAT trainer, and

police officer. Commander Eels’ Expert Report expands upon and providers further

detail regarding his expert qualifications in this matter.

      Commander Eells’ expertise includes but is not limited to patrol procedures,

use of force, use of deadly force, and non-lethal force. His extensive expertise stems

from his extensive knowledge, skill, education, training, and experience in these

areas. Both the range of Commander Eels’ expertise and the grounds therefore are

more fully described in his Expert Report. His review of the available records, facts,

data, and pleadings in this case to date, enumerated in his Expert Report, and the

application of his expertise to the same, form the basis for Commander Eells’ current

opinions.




                                        Page 2
        Case 1:14-cv-00184-SWS Document 35 Filed 11/10/15 Page 3 of 4




      While expert testimony from any Party as to the reasonableness, lawfulness

and constitutionality of Defendant’s conduct, or his qualified immunity for the same,

may not be necessary to help the trier of fact to understand the evidence or to

determine a fact in issue, if it is necessary, then Commander Eells will testify both

at his deposition and at trial that Defendant’s conduct was objectively reasonable

given the facts and circumstances. Commander Eells’ Expert Report includes his

opinions and the underlying basis and reasons therefore, as well as any other

information required by the rules.

      Discovery has not been completed, and Commander Eells reserves the right

to supplement his report and opinion, whether by addition, modification, or rebuttal,

as additional information becomes known.

      Commander Eells charges $225 per hour for the taking of his deposition and

court testimony. In addition, Commander Eells charges $175 per hour for travel time.

Commander Eells’ Curriculum Vitae including a list of cases is attached hereto as

Exhibit A and his fee schedule is attached hereto as Exhibit B.

      DATED this 10th day of November 2015.

                                /s/ Theodore R. Racines
                                Theodore R. Racines
                                Senior Assistant Attorney General




                                       Page 3
       Case 1:14-cv-00184-SWS Document 35 Filed 11/10/15 Page 4 of 4




                        CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed using the CM/ECF system on the
10th day of November, 2015, and a copy was sent to the following individuals:

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                                     /s/ MaryBeth Jones
                                     Office of the Wyoming Attorney General




                                     Page 4
